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UNITED S'I`ATES DISTRICT COURT

WESTERN DISTRICT 0F TENNESSEE 05 JUH 22 PH 3= 15
Western Division

§ : D lrlGF. l\)
‘ ., )s. asst et
UNITED STATES OF AMERICA q W'"r:: i_';'-‘- iN. MEMFNS
-vs- Case No. 2:05cr20210-Ma
DARRYL ROSS
a/k/a DARYL ROSS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Crirninal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' 'I`he Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this ,; 2 § day of June, 2005.

l~%»\

" TU`M. PHAM
UNITED sTATES MAGISTRATE IUDGE

 

Copies furnished to:

United States Attorney

United States Ma.rshal

Pretrial Services Offiee

Assistant Federal Public Defender
Intake

DARRYL ROSS

a/k/a DARYL ROSS

 
  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-202]0 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

